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                                   UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF OKLAHOMA

Heather Smith                                                 )
                                                              )
                                                              )
                                                              )
vs.                                         Plaintiff(s)      )              CIV-23-559-D
                                                                    Case No. ________________
Whaleco, Inc. d/b/a TEMU                                      )
                                                              )
                                                              )
                                                              )
                                             Defendant(s)     )

                                 REQUEST FOR ADMISSION PRO HAC VICE

      I hereby request admission to the Bar of this Court PRO HAC VICE in support of which I represent that
the answers to the following questions are complete, true and correct:

1.    Full name: Edwin Powell Miller

2.    State bar membership number: Michigan - P39487

3.    Business address, telephone and fax numbers:
       950 W. University Drive, Suite 300, Rochester, Michigan 48307
       (248) 841-2200
       (248) 652-2852 - fax


4.    List all state and federal courts or bar associations in which you are a member “in good standing” to practice
      law:
       State of Michigan Bar                     Third Circuit Court of Appeals
       USDC Eastern District of Michigan
       USDC Western District of Michigan
       Sixth Circuit Court of Appeals

5.    Have you been denied admission, disbarred, suspended from practice,                       G Yes   G
                                                                                                        ✔ No

      reprimanded, denied “in good standing” status, or otherwise disciplined by any
      court, bar association, grievance committee or administrative body?

6.    Have any proceedings which could lead to any such disciplinary action been                G Yes   G
                                                                                                        ✔ No

      instituted against you in any such bodies?
        (Please attach a statement explaining any “YES” answers to questions 5 or 6.)

7.    Are you familiar with the Federal Rules of Evidence, the Federal Rules of Civil           G
                                                                                                ✔ Yes   G No
      or Criminal Procedure (as applicable to this case) and the local rules of this court?

      A check for $100 should be made payable to the U.S. District Court Clerk.
        (United States Government Attorneys are exempted from paying this fee.)

      DATED this ________
                    5th          July, 2023
                          day of _____________________________.

                                                                       /s/ E. Powell Miller
005/rvsd 04-23                                                      Signature of Applicant
